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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

       vs.
                                                         Criminal No.: 19-CR-10345-DPW
DANA A. PULLMAN and
ANNE E. LYNCH,
                Defendants


                     STIPULATED DISCOVERY PROTECTIVE ORDER

       Pursuant to Federal Rule of Criminal Procedure 16(d), the government submits, and the

defendants do not contest, that good cause exists for the following Protective Order to govern

discovery in this case. Nothing in this Order shall limit the ability of the parties to seek

modifications of this Protective Order in the future.

       1.        The government may designate as “Sensitive” certain materials it produces in

discovery, whether pursuant to the Federal Rules, the Local Rules, or on a voluntary basis.

Materials so designated are hereafter referred to as “Sensitive Materials.”

       a. “Sensitive Materials” shall mean information, documents, and things the government

             believes in good faith is not generally known to others, and which the government (i)

             would not ordinarily reveal to third parties except in confidence, or (ii) believes in good

             faith is protected by a rights of privacy under federal or state law or any other applicable

             privilege or right related to confidentiality or privacy.

       b. To designate a document containing sensitive information as Sensitive, the government

             will mark the document “Sensitive Pursuant to Protective Order”.

       2.        The term “Defense Team” shall include attorneys of record; attorneys and support

staff at the same office as the attorneys of record; and investigators, experts, and other individuals
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retained to participate in the defense of a named defendant by attorneys of record. The Defense

Team shall not include any defendant or family member of a defendant. The Defense Team is

limited to attorneys and agents representing a defendant in this case and does not extend to

attorneys or agents representing a defendant in any other case or in any other federal, state, or local

court.

         3.    If an attorney of record wishes to share Sensitive Materials with other members of

the Defense Team, each attorney of record shall first provide a copy of this Protective Order to the

member of the Defense Team with whom Sensitive Materials are intended to be shared and have

each member of the Defense Team sign the “Agreement to Be Bound By Protective Order”

attached hereto as Exhibit “A”.

         4.    If an attorney of record wishes to share Sensitive Materials about any witness or

potential witness (“witness”) in this case, each attorney of record shall first provide a copy of this

Protective Order to the witness with whom Sensitive Materials are intended to be shared and have

each witness sign the “Agreement to Be Bound By Protective Order” attached hereto as Exhibit

“A”.

         5.    If an attorney of record wishes to share Sensitive Materials with any defendant or

defendant’s spouse in this case, each attorney of record shall first provide a copy of this Protective

Order to the defendant or defendant’s spouse with whom Sensitive Materials are intended to be

shared and have defendant and/or defendant’s spouse sign the “Agreement to Be Bound By

Protective Order” attached hereto as Exhibit “A”.

         6.    Except as set forth in paragraphs 7 through 13 below, Sensitive Materials shall be

accessed, reviewed, and/or copied only by members of the Defense Team.
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       7.      The Defense Team shall maintain Sensitive Materials in accordance with this

Agreement, and Sensitive Materials shall be used by the Defense Team solely and exclusively in

connection with the litigation and trial of this case and any related appeal.

       8.      The Defense Team shall not provide any copies of any Sensitive Materials to the

defendants, except Sensitive Materials containing a defendant’s own sensitive information. The

defendants in this case are permitted to review Sensitive Materials pertaining to each other, to any

witnesses, and to any federal agents (if any), provided it is done so in the presence of a Defense

Team member who has agreed to be bound by this Protective Order. Under no circumstances shall

any member of the Defense Team leave any Sensitive Materials alone with the defendant, except

Sensitive Materials containing a defendant’s own sensitive information, even for a limited period

of time, absent an Order to do by this Court.

       9.      Defendants are not permitted to maintain any Sensitive Materials or copies of

Sensitive Materials absent an Order of this Court, except that each defendant may maintain copies

of Sensitive Materials designated as containing his/her own sensitive information and, in

Defendant Pullman’s case, his spouse’s sensitive information. Defendant Pullman’s spouse is not

permitted to maintain any Sensitive Materials or copies of Sensitive Materials absent an Order of

this Court, except that Defendant Pullman’s spouse may maintain copies of Sensitive Materials

designated as containing her own sensitive information or Defendant Pullman’s sensitive

information.

       10.     Defendants reviewing Sensitive Materials pertaining to their co-defendant shall be

permitted to take notes of Sensitive Materials for the limited purpose of consulting with their

Defense Team and/or preparing their defense. However, any distribution, copying, or mailing of

notes of Sensitive Materials pertaining to a co-defendant to individuals outside the Defense Team
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shall be viewed as a violation of this Protective Order (and, depending on the nature and

circumstances of the violation, may constitute obstruction of justice).

       11.     Defendants reviewing Sensitive Materials pertaining to any witness or federal agent

(if any) shall be permitted to take notes of Sensitive Materials for the limited purpose of consulting

with their Defense Team and/or preparing their defense. However, any distribution, copying, or

mailing of notes of Sensitive Materials pertaining to any witness or federal agent (if any) to

individuals outside the Defense Team shall be viewed as a violation of this Protective Order (and,

depending on the nature and circumstances of the violation, may constitute obstruction of justice).

       12.     The Defense Team shall not provide any copies of any Sensitive Materials to a

witness, except Sensitive Materials containing a witness’s own sensitive information, provided it

is done so in the presence of a Defense Team member who has agreed to be bound by this

Protective Order. Witnesses in this case are not permitted to review Sensitive Materials pertaining

any defendant or other witness or federal agent (if any). Under no circumstances shall any member

of the Defense Team leave any Sensitive Materials alone with any witness, except Sensitive

Materials containing a witness’s own sensitive information, even for a limited period of time,

absent an Order to do by this Court.

       13.     Witnesses are not permitted to maintain any Sensitive Materials or copies of

Sensitive Materials absent Order of this Court, except that any witness may maintain copies of

Sensitive Materials designated as containing her/his own sensitive information.

       14.     Any Sensitive Materials that are filed with the Court in connection with pre-trial

motions, trial, sentencing, or other matters before this Court shall be filed under seal and shall

remain sealed until otherwise ordered by this Court. The parties shall comply in all respects with
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the relevant Federal Rules of Criminal Procedure and Local Rules pertaining to the sealing of court

documents.

       15.     Violation of this Protective Order shall be subject to sanction. Absent further Order

of the Court, the terms of this Protective Order shall continue to be in effect and binding following

the termination of the case.

SO STIPULATED:

       ANDREW E. LELLING
       United States Attorney

By:    /s/Kristina E. Barclay
       Kristina Barclay
       Assistant U.S. Attorney


       DANA A. PULLMAN
       Defendant

By:    /s/Oscar Cruz
       Oscar Cruz
       Counsel for Dana A. Pullman


       ANNE M. LYNCH
       Defendant

By:    /s/Scott Lopez
       Scott Lopez
       Counsel for Anne M. Lynch

Dated: November 26, 2019

IT IS SO ORDERED.


_________________________
Honorable Jennifer C. Boal
United States Magistrate Judge
Dated: ____________________
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                                        EXHIBIT “A”



       I,                                                                    ,   acknowledge   and

declare that I have received a copy of the Protective Order (“Order”) entered in United States v.

Pullman, et al., Criminal Number 19-CR-10345-DPW. Having read and understood the terms of

the Order, I agree to be bound by the terms of the Order and consent to the jurisdiction of said

Court for the purpose of any proceeding to enforce the terms of the Order.



       Name of individual:

       Address:



       Dated:




                                                           Signature
